       Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 1 of 39 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


LYNDON VETERINARY CLINIC, PLLC,
on behalf of itself and all others similarly     Case No.
situated,
                                                 CLASS ACTION
         Plaintiff,
                                                 COMPLAINT
         v.
                                                 JURY TRIAL DEMANDED
STERICYCLE, INC.,

         Defendant.




000700-00 598918 V1
       Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 2 of 39 PageID #:2



         Plaintiff, LYNDON VETERINARY CLINIC, PLLC (“Plaintiff”),

individually and on behalf of a class of all those similarly situated, upon personal

knowledge as to facts pertaining to itself and upon information and belief as to all

other matters, based on the investigation of its counsel, against Defendant

STERICYCLE, INC. (“Stericycle” or “Defendant”), states as follows:

                               I.    NATURE OF ACTION
         1.       This consumer class action arises from Stericycle’s breach of its

standard form contract with medical clinics, veterinary clinics, medical labs,

municipal jails, and others across the country that hired Stericycle to dispose of

their regulated medical waste. Stericycle, a publicly traded medical waste disposal

company with $1.9 billion in revenues in 2012, generates this extraordinary

revenue by programming its internal billing and accounting software to

automatically charge an 18% annual price increase in the flat rates it charges its

customers. This “automated price increase,” to use Stericycle executives’

corporate-speak, has never been disclosed to the customers who paid it, and it is

not permitted by the customers’ contracts with Defendant.

         2.       Stericycle uses an internal electronic billing and accounting software

system called Tower. Stericycle executives directed that the Tower system’s

programming default to an 18% “automated price increase” for “small-quantity,”

non-institutional customers. In 2012, these customers made up 97% of Stericycle’s



                                             -1-
000700-00 598918 V1
       Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 3 of 39 PageID #:3



541,000 customers worldwide. This price increase appeared without notice or

explanation on customers’ invoices annually, and sometimes as often as every nine

months.

         3.       Stericycle’s executives knew the automated price increases were

wrong, because in 2006 they were urged by their own Vice President to deprogram

the Tower system in order to cease the practice with respect to federal

governmental customers when several federal customers got wind of it. But they

continued the practice with regard to the vast majority of their customers. On

information and belief, Stericycle only modified its practice at the end of 2012,

when it settled with the New York State Attorney General – for full treble damages

for New York governmental customers only – a qui tam case under the False

Claims Act.

         4.       Stericycle executives continue the practice after recognizing seven

years ago that it was wrong because of the tremendous revenue generated from

automated price increases. As in internal Stericycle e-mail states, “projected PI

[Price Increase] revenue” was so big that it was separately tracked in “PI Impact

analysis reports … sen[t] to Mark/Frank/Rich each month” – referring to

Stericycle’s three highest executives, CEO Mark Miller, CFO Frank Ten Brink,

and COO Rich Kogler. The revenue stream from automated price increases was so




                                             -2-
000700-00 598918 V1
       Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 4 of 39 PageID #:4



great that Stericycle only modified its practice when forced to by a multi-state

government investigation.

         5.       Stericycle’s automated price increases were imposed automatically by

the company’s electronic billing software on most of Stericycle’s “small-quantity”

medical waste disposal customers. They are a common course of conduct the

legality of which will be adjudicated based on a common nucleus of operative facts

from information in Defendant’s control. The only material difference among

prospective class members’ claims is the specific amount of their damages. The

operative customer contracts, standard form agreements written by Stericycle with

no input from its customers, contained a choice-of-law clause applying a single

state’s laws to all disputes. Adjudicating individually each claim of the hundreds

of thousands of class members would overwhelm the court system. This case is

well-suited for treatment as a class action.

         6.       On behalf of itself and all others similarly situated, Plaintiff seeks

relief from Stericycle for injuries caused by this common practice, including: (a)

an order certifying the action to be maintained as a Class action and ordering

Plaintiff and its counsel to represent the Class; (b) restitution; (c) compensatory

damages; (d) punitive damages; (e) attorneys’ fees; (f) costs of this suit; (g) pre-

and post-judgment interest; and (h) such other and further relief as this Court may

deem necessary or proper.


                                              -3-
000700-00 598918 V1
       Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 5 of 39 PageID #:5




                           II.   JURISDICTION AND VENUE
         7.       This Court has subject matter jurisdiction over this class action

pursuant to 28 U.S.C. § 1332 as amended by the Class Action Fairness Act of 2005

because, on information and belief, the matter in controversy exceeds $5,000,000,

exclusive of interest and costs, and is a class action in which some members of the

Classes are citizens of states different than Defendant. See 28 U.S.C. §

1332(d)(2)(A). This Court also has personal jurisdiction over Defendants because

they are authorized to do business and in fact do business in this state and

Defendants have sufficient minimum contacts with this state, and/or otherwise

intentionally avail themselves of the markets in this state through the promotion,

marketing and sale of their products in this state, to render the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and

substantial justice.

         8.       Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District

of Illinois because Defendant resides in this District, Defendant is found in this

District, and/or Defendant is subject to personal jurisdiction in this District.

                                      III.   PARTIES
         9.       Plaintiff LYNDON VETERINARY CLINIC, PLLC is a citizen of the

United States and a citizen of the state of New York. In or about December 2008,

Lyndon Veterinary Clinic entered into a Steri-Safe Service Agreement with



                                              -4-
000700-00 598918 V1
       Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 6 of 39 PageID #:6



Stericycle for Stericycle to provide medical waste disposal services for it. Lyndon

Veterinary Clinic’s agreement with Stericycle did not permit or provide for

Stericycle to impose automated prices increases for the services Stericycle

performed. Despite this fact and in violation of its contract, Stericycle charged

Lyndon Veterinary Clinic automated price increases of 21.1% in 2009, 17.8% in

2010, and 25.4% in 2012. As a result, Lyndon Veterinary Clinic has been

damaged.

         10.      Defendant STERICYCLE, INC. is a Delaware corporation with its

principal corporate offices located in Lake Forest, Illinois. Defendant has been and

still is engaged in the business of providing medical waste disposal services in the

United States and abroad.

                            IV.   GENERAL ALLEGATIONS

A.       Stericycle and the Regulated Waste Disposal Business
         11.      Stericycle has been in the regulated medical waste business since

1989. Regulated medical waste is generally any medical waste that can cause an

infectious disease and includes single-use disposable items such as needles,

syringes, gloves, and other medical supplies; cultures and stocks of infectious

agents; blood and blood products; and regulated pharmaceutical waste, which

consists of expired or recalled pharmaceuticals.




                                             -5-
000700-00 598918 V1
       Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 7 of 39 PageID #:7



         12.      The regulated medical waste services Stericycle provides include the

waste disposal service product provided to the majority of its customers called the

“Steri-Safe” program, medical waste disposal, a clinical services program, reusable

sharps disposal management services, pharmaceutical waste disposal, and

hazardous waste disposal.

         13.      Stericycle serves approximately 541,000 customers worldwide. It

divides its customers into two categories, large-quantity and small-quantity waste

generators. Large-quantity waste generators include hospitals, blood banks, and

pharmaceutical manufacturers. Small-quantity waste generators are such

businesses as outpatient medical clinics, medical and dental offices, long-term and

sub-acute care facilities, veterinary offices, and retail pharmacies. Stericycle’s

small-quantity waste generating customers also include federal and state

government agencies, municipalities, prisons, and jails.

         14.      Almost all of Stericycle’s customers are small-quantity customers.

Ninety-seven percent (524,500) of Stericycle’s 541,000 customers worldwide in

2012 were small-quantity waste generators.

         15.      A majority of Stericycle’s revenues are from small-quantity

customers. Stericycle had domestic revenues of $1.37 billion in 2012. Sixty-three

percent, or $863 million, were from small-quantity customers. And more of

Stericycle’s profits come from these customers. As stated in Stericycle’s 2012 10-


                                            -6-
000700-00 598918 V1
       Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 8 of 39 PageID #:8



K, Stericycle achieved “higher gross margins … with our small-quantity customers

relative to our large-quantity customers.”

         16.      Stericycle uses both telemarketing and direct sales efforts to obtain

new small-quantity customers. In addition, Stericycle’s waste disposal drivers

actively solicit small-quantity customers. Stericycle targets small-quantity

customers as a growth area of its regulated waste business. In contrast,

Stericycle’s marketing efforts for large-quantity customers are conducted by

account executives, service specialists, and healthcare compliance executives.

         17.      When Stericycle acquires a new small-quantity customer, whether

from a cold call, client-initiated call, or through acquisition, Stericycle offers such

customers Stericycle’s standard form “Steri-Safe Service Agreement,” which is a

one to five year fixed-price agreement calling for specified, monthly or quarterly

waste pick-ups. A majority of small-quantity customers have the form “Steri-

Safe” small-quantity customer contract.

         18.      Customers for Stericycle’s “Steri-Safe” service pay a predetermined

subscription fee in advance for regulated waste collection and processing services.

This service purports to satisfy the customer’s obligations to dispose of medical

waste in compliance with regulations of state and federal agencies, such as the

Environmental Protection Agency and the Occupational Health and Safety

Administration. The standard form Steri-Safe Service Agreement contains an


                                             -7-
000700-00 598918 V1
       Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 9 of 39 PageID #:9



automatic term renewal provision and does not expire absent affirmative action by

the customer or Stericycle to terminate it.

B.       Stericycle’s Standard Form “Steri-Safe Service Agreement”

         19.      The Steri-Safe Service Agreement is a standard form contract drafted

by Steri-Safe with no input from the customer. The terms and conditions of the

Steri-Safe Service Agreement, and all other written contracts offered by Stericycle,

contain a choice-of-law provision that states that Illinois law governs any disputes

between the parties to the contracts.

         20.      The Steri-Safe Service Agreement consists of a cover sheet listing

“Steri-Safe Program Benefits,” fees, and a line for the customer’s signature and a

separate writing titled “Steri-Safe Terms and Conditions.” A copy of the Steri-

Safe Service Agreement provided by Stericycle to Plaintiff is attached as Exhibit 1.

         21.      As reflected on Exhibit 1, the Terms and Conditions provided by

Stericycle to Plaintiff were a copy of a facsimile, in reduced type size, and

completely illegible. On information and belief, Stericycle’s standard practice is to

fax new customers terms and conditions to the Steri-Safe Service Agreement in

similar illegible condition.

         22.      In general, the Steri-Safe Terms and Conditions require Stericycle to

collect, transport, treat, and dispose of regulated medical waste generated by the

customer during the term of the agreement.



                                             -8-
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 10 of 39 PageID #:10



         23.      The time period of the Steri-Safe Service Agreement is typically 36

months from the effective date. However, the Terms and Conditions provide that

the Service Agreement automatically renews for successive terms equal to the

original term. To prevent automatic renewal, the customer must give 60 days

written notice of its desire to terminate the agreement, and the notice must be made

during the six-month period prior to the renewal date.

         24.      The fees the customer must pay for medical waste pickup and disposal

are listed on the cover page of the Service Agreement. Steri-Safe customers

typically pay Stericycle a flat monthly or quarterly fee, the amount of which is

expressly stated on the Service Agreement cover page.

         25.      Stericycle offers a “select” and a “preferred” Steri-Safe service

package. Generally, the “select” service involves medical waste pickup and

disposal and certain educational resources, while the “preferred” service adds an

OSHA compliance training, evaluation, and guarantee component.

         26.      Section 2(b) of the Terms and Conditions addresses increases in the

flat fee during the term of the contract. The operative language states:

                  Stericycle reserves the right to adjust the contract price to
                  account for operational changes it implements to comply
                  with documented changes in law, to cover increases in
                  the cost of fuel, insurance, residue disposal, or to
                  otherwise address cost escalation.




                                              -9-
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 11 of 39 PageID #:11



         27.      Prior to October 2012, the standard form Steri-Safe contract did not

contain other language addressing Stericycle’s right to increase the flat fee

provided for on the cover page of the Steri-Safe Service Agreement.

         28.      The Terms and conditions expressly provide that the Steri-Safe

Service Agreement automatically renews at the end of its term. They state:

                  Subject to the provisions below, the term (“Term”) of
                  this Agreement shall automatically renew for successive
                  terms equal to the original Term (each an “Extension
                  Term”) unless either party has given sixty (6) days
                  notice, in writing, during the six (6) month period prior to
                  the renewal date of its desire to terminate this agreement.
                  All Extension Terms shall be subject to the terms and
                  conditions hereunder.

         29.      In sum, prior to October 2012, the standard form Steri-Safe contract

stated that Stericycle may increase its price only to account for “documented

changes in law” and “to cover increases in the cost of fuel, insurance, residue

disposal, or to otherwise address cost escalation.” The Steri-Safe contract renews

automatically, obligating customers to continue to use Stericycle’s services

continuously unless they provide 60 days notice of termination. However, the

form Steri-Safe contract does not provide for an increase in the price the customer

must pay upon expiration and renewal of the contract, and Stericycle must continue

to provide that service at the contract price. Under the terms of the contract,

Stericycle may not increase its disposal fee except in two circumstances – to




                                             - 10 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 12 of 39 PageID #:12



account for “operational changes” implemented “to comply with documented

changes in the law” or to “address cost escalation.”

C.       Stericycle’s Unlawful, Unilateral “Automated Price Increase” Policy

         30.      During the relevant time period, Stericycle imposed an automated

price increase (“API”) of 18% during a calendar year on all Steri-Safe contract

customers. At times it imposed APIs annually and at times more frequently, often

every nine months. Stericycle also imposed an API on small-quantity customers,

called transactional customers, that did not have a Steri-Safe Service Agreement

and instead paid for waste disposal services under a different Stericycle form

contract. Stericycle’s API policy was never disclosed to its customers or

authorized by Stericycle’s form contracts.

         31.      Stericycle has concealed its automated price increase scheme from its

customers and the public. In a deposition dated August 26, 2009, in a suit for

improperly charging fuel and energy surcharges ultimately settled by Stericycle, its

Chief Operating Officer, Richard Kogler, was asked under oath what “automated

PI” meant, a term that the plaintiff’s counsel was clearly unfamiliar with.

Mr. Kogler answered, “It means that it’s automated within the system, so it’s been

preset according to the customer’s contract.” This answer was false, because

automated price increases were not mentioned in customers’ contracts or charged




                                            - 11 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 13 of 39 PageID #:13



“according to” those contracts. This false response prevented Stericycle’s API

policy from being exposed during the deposition.

         32.      Stericycle targeted small-quantity customers with its automated price

increase policy (although some large-quantity customers paid APIs as well).

Stericycle chose to target small-quantity customers because they were less

sophisticated and had far smaller, if any, legal or accounting departments.

Therefore, they were less likely to catch Stericycle’s automatic 18% price increase.

And if they did catch it, they were less equipped to challenge whether the price

increase was prompted by an increase in Stericycle’s actual costs.

         33.      Stericycle used an electronic financial accounting and reporting

system, named “Tower.” Stericycle programmed the Tower financial reporting

system to apply a periodic 18% price increase automatically to small-quantity

customer accounts. Stericycle charged small-quantity customers price increases

periodically, most frequently in 9 or 12 month intervals.

         34.      Stericycle programmed Tower to default to an 18% API each year or

nine months. While Stericycle’s standard annual price increase for small-quantity

customers was 18%, it charged customers other, varying price increases at different

times during the year over the course of the relevant period.

         35.      Tower contained multiple data fields, and a screen shot from the

computerized Tower system could reflect a number of fields selected by the user.


                                            - 12 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 14 of 39 PageID #:14



One field available on Tower is the percentage amount of the last price increase

charged any particular customer. All price increases that Stericycle imposed on

small-quantity customers can be determined from the electronic records contained

in Stericycle’s Tower financial reporting system.

         36.      In addition, to the last price increase amount, the fields populated with

data on Tower include, for example, “Last Price Inc[rease] Date,” “PI [Price

Increase] exempt,” “PI [Price Increase] Max Amt (%),” “PI [Price Increase] Expire

Date,” and “PI [Price Increase] Reason Code.” A screen shot from the Tower

financial reporting system appears as follows:




                                             - 13 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 15 of 39 PageID #:15



         37.      In the screen shot copied in the foregoing paragraph, an API of 18% is

evidenced in the field in the middle of the screen named “Last Price Inc Amount.”

         38.      Stericycle did not internally correlate the annual API to its own costs,

or to “documented changes in law.”

         39.      Stericycle’s costs did not increase by 18% per year, or every nine

months. Yet Stericycle charged its small-quantity customers an 18% automated

price increase each year.

         40.      Stericycle’s costs fluctuated from year-to-year. Stericycle did not

modify the amount of the automated price increase to reflect these fluctuations.

         41.      Stericycle billed most small-quantity customers on a monthly basis. It

sent customers an invoice that listed as a line-item a description of the charge,

which for most customers stated “Steri-Safe.” The invoice then listed a

corresponding flat fee, usually monthly, for the Steri-Safe service.

         42.      For example, Plaintiff’s invoice dated November 1, 2009 is shown

below:




                                             - 14 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 16 of 39 PageID #:16




         43.      Plaintiff’s invoice for the succeeding month, December 1, 2009, is

shown below.




                                            - 15 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 17 of 39 PageID #:17



         44.      Plaintiff’s December 1, 2009 invoice reflects an API of 18% charged

by Stericycle without an explanation to Plaintiff of any “documented changes in

law” or escalation of Stericycle’s costs.

         45.      While the vast majority of its customers paid the API billed, not all

agreed to pay the 18% API for which Stericycle invoiced them. Stericycle’s

business organization included two departments intended to persuade small-

quantity customers to pay as much of the 18% API as possible.

         46.      Stericycle maintained a customer complaint department. In the month

that Stericycle implemented an API, this department routinely received a large

number of complaints from Steri-Safe and other small-quantity customers.

         47.      Stericycle employed various false reasons to justify the API to

customers, especially in the customer complaint department. When customers

objected to the API, Stericycle employees were directed by management to use

false justifications in an attempt to get these customers to back down and acquiesce

to these increases.

         48.      Some customers refused to agree to Stericycle’s API. Stericycle

maintained a “customer retention” department to address these clients. Stericycle’s

practice was for the customer complaint department to refer to the customer

retention department those customers who refused to agree to the API and




                                             - 16 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 18 of 39 PageID #:18



threatened to terminate their relationship with Stericycle. For these customers, the

retention department was authorized to offer a discount on the API.

         49.      Stericycle had been aware since 2004, that several governmental

authorities considered Stericycle’s APIs to be an improper practice. These

authorities include New York City, the State of New Jersey, and the State of

Washington. Based upon these entities’ objections, Stericycle formulated a written

policy forbidding the use of the Steri-Safe agreement with its offending API for

use within these jurisdictions. Certain large valued corporate clients, dubbed “the

Nationals,” were also exempted from APIs. Stericycle did not exempt its other

customers, however – namely, Steri-Safe customers throughout the nation.

         50.      The same Steri-Safe contract template was used for both private and

governmental customers. By 2006, Stericycle executives were aware that federal

government customers objected to Stericycle’s API policy. As a result, in

September 2006, Stericycle Vice President Patrick Cott sent an e-mail to his

subordinates directing them to stop charging APIs to federal government

customers. While Stericycle understood that the terms of the Steri-Safe Service

Agreement did not permit it to continue to charge APIs to the federal government,

Stericycle continued to charge small-quantity private sector customers with APIs.

         51.      Mr. Cott’s e-mail disclosed the reason that Stericycle continued its

API policy despite recognizing that it was unlawful: it generated a substantial


                                             - 17 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 19 of 39 PageID #:19



revenue stream to Stericycle. Mr. Cott wrote to two subordinates: “Todd/Jerry –

please be advised of the potential impact to the PI Impact Analysis reports that

Courtenay sends to Mark/Frank/Rich each month, as these accounts will no longer

be in the mix for automated PIs and fuel charges, and thus you’ll lose projected PI

revenue with this change” (emphasis added).

D.       The Qui Tam Suit
         52.      Qui tam Relator Jennifer Perez was hired by Stericycle as a temporary

employee in 2004, but soon moved into a full-time position in the collections

department. In that position, Perez began to see that Stericycle was overbilling its

governmental and non-governmental customers. In 2006, Perez was promoted to

the position of government specialist and was put in charge of preventing and

resolving disputes with the governmental accounts.

         53.      Perez discovered that Stericycle was routinely billing all small-

quantity customers, including government customers, with annual 18% increases,

adding surcharges, and billing such customers in advance of any pickups. This

resulted in gross overcharges to these accounts.

         54.      Perez’s supervisors routinely admitted to her that they were aware that

Stericycle’s API practices were improper with respect to the governmental

accounts, yet Stericycle continued these practices unabated.




                                             - 18 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 20 of 39 PageID #:20



         55.      On April 28, 2008, Perez filed a qui tam complaint against Stericycle

in the United States District Court for the Northern District of Illinois. She filed a

First amended Qui Tam Complaint on June 28, 2010. Perez alleged that Stericycle

had defrauded the United States, 14 states, and the District of Columbia by

imposing an automatic periodic price increase in violation of its contracts with the

governmental entities.

         56.      Perez’s complaint brought on behalf of the United States, 13 states,

and the District of Columbia is still pending.

         57.      On January 2, 2013, Stericycle settled the case initiated by Perez with

the Attorney General of the State of New York. In the Settlement Agreement,

Stericycle admitted that “[d]uring the period January 1, 2003 through September

30, 2012, with respect to New York Government Customers, Stericycle presented

invoices containing automatic price increases not authorized by contracts viz.

automatic periodic rate increases (automated price increases or “APIs”), that

resulted in overpayment for products and services.”

         58.      The Settlement Agreement between Stericycle and New York

provides that Stericycle will reimburse the State for 100 percent of the charges

resulting from automated price increases. In addition, Stericycle agreed to pay

treble damages to New York State as a result of the automated price increases.




                                             - 19 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 21 of 39 PageID #:21



         59.      In the Settlement Agreement, Stericycle agreed that it would not in the

future apply any APIs to New York Government customers. Any APIs applied to

and paid by New York Government customers after September 30, 2012 are to be

credited back to customer accounts.

E.       Plaintiffs’ Experience With Stericycle’s Automated Price Increases

         60.      Plaintiff entered into a Steri-Safe Service Agreement with Stericycle

on May 21, 2009. The Service Agreement provided that Plaintiff would pay

Stericycle a flat monthly fee of $56.00.

         61.      Stericycle invoiced Plaintiff for $56 per month until June 1, 2009. On

that date, Plaintiff’s invoice reflected a 3.1% increase in its monthly fee. Then

again, on December 1, 2009, Stericycle attempted to charge Plaintiff an 18%

increase in its monthly fee.

         62.      Shortly after receiving the December 1, 2009 invoice, Plaintiff

complained to Stericycle that the 18% increase violated his Steri-Safe Service

Agreement. Stericycle then rescinded the API, and provided Plaintiff with an

“Addendum ‘Price Increase’ Term and Pricing” that specified that it would

experience “a maximum … annual increase of 5%.”

         63.      On June 1, 2009, Plaintiff received an invoice from Stericycle that

charged a 5% increase in its monthly fee.




                                            - 20 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 22 of 39 PageID #:22



         64.      On March 1, 2011, Plaintiff received an invoice that charged it an

8.5% increase in its monthly fee. Again five months later, on August 1, 2011,

Stericycle imposed on Plaintiff an additional 7.5% price increase. This was

followed by a 1.8% price increase in December 2011. In all in 2011, Stericycle

charged Plaintiff with price increases totaling 17.8%.

         65.      On May 1, 2012, Stericycle charged Plaintiff with another price

increase, this one of 4.6%. On December 1, 2012, Stericycle charged Plaintiff a

price increase of 20.8%. In all, Stericycle’s 2012 price increases under Plaintiff’s

Steri-Safe Service Agreement amounted to 25.4%.

F.       Stericycle’s Practice of Charging Steri-Safe Customers Automated Price
         Increases Has Caused Damage To Plaintiff and the Class
         66.      According to Stericycle’s 10-K, Stericycle had domestic revenues of

$1.37 billion in 2012. Most of these revenues – 63 percent, or $863 million – were

from small-quantity customers.

         67.      Further, more of Stericycle’s profits come from small-quantity

customers. As stated in Stericycle’s 2012 10-K, Stericycle achieved “higher gross

margins … with our small-quantity customers relative to our large-quantity

customers.”

         68.      A majority of Stericycle’s small-quantity customers have the standard

form Steri-Safe Service Agreement. For at least the past five years, most the




                                            - 21 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 23 of 39 PageID #:23



financial growth in the small-quantity customer segment of Stericycle’s business

has been because of increased Steri-Safe revenue.

         69.      During the relevant period, Stericycle imposed an automatic 18%

annual price increase on all Steri-Safe contract customers, and on most small-

quantity customers. In some cases, Stericycle ultimately was able to force the

customer to pay only a portion of the 18% API, and in some years Stericycle

charged customers price increases of more than 18%.

         70.      The APIs charged by Stericycle were not calculated using dollar

amounts of the costs incurred by Stericycle, whether for changes in law, fuel,

insurance, residue disposal, or other costs.

         71.      Column E of the table below shows, for the years 2006 through 2012,

the revenue Stericycle unlawfully earned from small-quantity customers if it

recouped from them the 18% API that was its standard policy and practice, based

on Stericycle’s annual form 10-K reports filed with the United States Securities

and Exchange Commission. The exact amount of Stericycle’s unlawful

overcharges of its small-quantity customers can be easily derived from the data

maintained on Stericycle’s Tower electronic financial accounting and reporting

system, which is in the exclusive control of Stericycle.




                                            - 22 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 24 of 39 PageID #:24



           A                 B                C                  D            E
          Year        Total domestic   Total domestic     Total domestic   18% of D
                       revenue ($)      revenue from       revenue from
                                       small-quantity     small-quantity
                                       customers (%)       customer ($)

         2012 $1,370,000,000               63%              $863,100,000 $155,358,000

         2011         1,210,000,000        63%               762,300,000   137,214,000

         2010         1,080,000,000        63%               680,200,000   122,472,000

         2009           912,600,000        63%               574,938,000   103,489,000

         2008           830,800,000        63%               523,404,000    94,212,000

         2007           721,400,000        63%               454,482,000    81,807,000

         2006           616,400,000        63%               388,322,000    69,900,000


                            V.     CLASS ACTION ALLEGATIONS
         72.      Plaintiff brings this action pursuant to Rule 23(b)(2) and (b)(3) of the

Federal Rules of Civil Procedure, on behalf of themselves and the members of the

following Class:

                  All persons and entities that, pursuant to a contract with
                  Stericycle, Inc., paid a flat fee for medical waste disposal
                  services and whose fee was increased pursuant to
                  Stericycle’s automated price increase policy, excluding
                  governmental entities whose claims are asserted in
                  United States ex rel. Perez v. Stericycle, Inc.

         73.      Excluded from the Class are Defendant, any entity in which

Defendant has a controlling interest or which has a controlling interest in

Defendant, and Defendant’s legal representatives, predecessors, successors,

assigns, and employees.



                                                 - 23 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 25 of 39 PageID #:25



         74.      The definition of the Class is unambiguous. Plaintiff is a member of

the Class it seeks to represent. Members of the Class can be identified using

Defendant’s records of contracts and other information that is kept by Defendant in

the usual course of business and/or in the control of Defendant. Records kept by

Defendant identify the Class members who entered into a Steri-Safe Service

Agreement or other small-quantity waste disposal contracts with Defendant. The

members of the Class can be notified of the Class action through publication and

direct mailings to address lists maintained in the usual course of business by

Defendant.

         75.      Pursuant to Rule 23(a)(1), Class members are so numerous that their

individual joinder is impracticable. As of December 31, 2012, Stericycle had over

500,000 small-quantity waste disposal customers, and a majority of these

customers are Class members. The precise number of Class members is unknown

to Plaintiff, but that number greatly exceeds the number to make joinder

impossible.

         76.      Pursuant to Rule 23(a)(2) and (b)(3), except as to the amount of

damages each member of the Class has by him/herself sustained, questions of fact

and law are common to the Class, and common questions of law and fact

predominate over the questions affecting only individual Class members. Some of

the common legal and factual questions include:


                                            - 24 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 26 of 39 PageID #:26



         (a)      Whether Defendant used standard form contracts with its small-
                  quantity customers that charged a flat fee for regulated medical waste
                  disposal;

         (b)      Whether the claims of Plaintiff and the Class are governed by a
                  choice-of-law provision in Defendant’s standard form contracts, and
                  whether pursuant to that provision Illinois law governs their claims;

         (c)      Whether Defendant imposed an automated price increase on small-
                  quantity waste disposal customers who entered into fee-based medical
                  waste disposal contracts with Stericycle;

         (d)      Whether Defendant’s standard form contracts with its small-quantity
                  medical waste disposal customers provided that Defendant could
                  adjust the contract price only to account for operational changes it
                  implemented to comply with documented changes in law, to cover
                  increases in the cost of fuel, insurance, residue disposal, or to
                  otherwise address cost escalation.

         (e)      Whether Defendant’s APIs were authorized by its standard form
                  contracts;

         (f)      Whether Defendant calculated its API using dollar amounts of the
                  costs it incurred, whether for changes in law, fuel, insurance, residue
                  disposal, or other costs;

         (g)      Whether Defendant programmed the Tower financial accounting and
                  reporting system to apply a periodic 18% price increase automatically
                  to small-quantity medical waste disposal customer accounts.

         (h)      Whether Defendant maintained the Tower financial accounting and
                  reporting system to track APIs imposed on small-quantity waste
                  disposal customers;

         (i)      Whether Defendant instructed employees in its office responsible for
                  responding to customer complaints to give customers pretextual
                  reasons to justify APIs;

         (j)      Whether Defendant disclosed its policy to impose APIs to its small-
                  quantity medical waste disposal customers;




                                             - 25 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 27 of 39 PageID #:27



         (k)      Whether Defendant breached its contracts with Plaintiff and Class
                  members;

         (l)      Whether Defendant’s conduct violated the Illinois Uniform Deceptive
                  Trade Practices Act;

         (m)      Whether Defendant was unjustly enriched by its practice of charging
                  APIs;

         (n)      Whether Defendant defrauded Plaintiff and members of the Class; and

         (o)      The nature and extent of damages and other remedies to which the
                  conduct of Defendant entitles Plaintiff and the Class members.

         77.      Defendant engaged in a common course of conduct giving rise to the

legal rights sought to be enforced by Plaintiff and the Class members. A single,

common policy to impose automated price increases not calculated based on costs

incurred by Defendant is at issue in this case. Individual questions, if any, pale by

comparison to the numerous common questions that dominate.

         78.      The injuries sustained by the Class members flow, in each instance,

from a common nucleus of operative facts, Defendant’s misconduct. Each Class

member was invoiced for an automated price increase that was not calculated using

dollar amounts of the costs Defendant incurred and was not authorized by the Class

member’s contract.

         79.      Pursuant to Rule 23(a)(3), Plaintiff’s claims are typical of the claims

of the other members of the Class. Plaintiff, like other members of the Class, paid

an automated price increase that was not calculated using dollar amounts of the

costs Defendant incurred and was not authorized by its contract with Defendant.


                                             - 26 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 28 of 39 PageID #:28



Plaintiff was subject to, and was financially harmed by, a common policy and

practice applied by Defendant to all Class members to charge automated price

increases.

         80.      Pursuant to Rule 23(a)(4) and (g)(1), Plaintiff will fairly and

adequately protect the interests of the Class. Plaintiff is familiar with the basic

facts that form the bases of the Class members’ claims. Plaintiff’s interests do not

conflict with the interests of the other Class members that it seeks to represent.

Plaintiff has retained counsel competent and experienced in class action litigation

and intends to prosecute this action vigorously. Plaintiff’s counsel has successfully

prosecuted complex class actions, including consumer protection class actions.

Plaintiff and Plaintiff’s counsel will fairly and adequately protect the interests of

the Class members.

         81.      Pursuant to Rules 23(b)(3), a class action is superior to other available

methods for the fair and efficient adjudication of this controversy because joinder

of all class members is impracticable. The prosecution of separate actions by

individual members of the Class would impose heavy burdens upon the courts and

Defendant, and would create a risk of inconsistent or varying adjudications of the

questions of law and fact common to the Class. A class action would achieve

substantial economies of time, effort and expense, and would assure uniformity of

decision as to persons similarly situated without sacrificing procedural fairness.


                                             - 27 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 29 of 39 PageID #:29



         82.      Individual litigation of the legal and factual issues raised by the

conduct of Defendant would increase delay and expense to all parties and to the

court system. The class action device presents far fewer management difficulties

and provides the benefits of a single, uniform adjudication, economies of scale and

comprehensive supervision by a single court. Given the similar nature of the

claims of the members of the Class and the uniform application of Illinois law to

the claims of Plaintiff and the members of the Class, the Class’s claims will be

effectively managed by the Court and the parties.

                                VI.   CAUSES OF ACTION

                                          COUNT I

                                Breach of Contract and
                 Breach of the Covenant of Good Faith and Fair Dealing
         83.      Plaintiff realleges and incorporates by reference the preceding

allegations as if fully set forth above.

         84.      Defendant formed agreements and entered into valid and enforceable

contracts with Plaintiff and members of the Class including offer, acceptance, and

consideration. Defendant provided Plaintiff and members of the Class with a

written standard form agreement drafted by Defendant, and Plaintiff and members

of the Class accepted Defendant’s offer and exchanged consideration by using

Defendant’s services and paying for them.




                                              - 28 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 30 of 39 PageID #:30



         85.      Plaintiff and members of the Class have performed all, or

substantially all, of the obligations imposed on them under their contracts with

Defendant.

         86.      Plaintiff and members of the Class paid a regulated medical waste

disposal fee expressly set out in their agreements with Defendant as compensation

for the services Defendant provided.

         87.      Plaintiff and members of the Class fulfilled their contractual

obligations to Defendant.

         88.      Defendant breached its agreements with Plaintiff and members of the

Class by imposing an automated increase that bore no relation to costs Defendant

incurred on the fees they paid for medical waste disposal services. Such automated

increases were not provided for in the contracts or agreed to by Plaintiff and

members of the Class.

         89.      Good faith is an element of every contract in Illinois. In Illinois, all

contracts impose upon each party a duty of good faith and fair dealing. Good faith

and fair dealing are violated by a party’s refusal to comply with contract terms

despite knowledge that it was violating the contract and knowledge that refusal

would result in serious damage. Examples of bad faith include where a party

interprets a contract in an unreasonable manner, and where it uses abusive or

coercive practices designed to compel compromise on a claim.


                                              - 29 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 31 of 39 PageID #:31



         90.      In this case, Defendant engaged in the following conduct that

breached its duty of good faith and fair conduct: (1) Defendant charged automated

price increases undisclosed and unauthorized by its contract with Plaintiff and the

Class; (2) Defendant used standard form contracts that it drafted with lengthy

terms and conditions that were difficult to read and, often, transmitted to Class

members in illegible form; (3) Defendant intentionally drafted loose language in

order to create ambiguity over the basis and legal justification for automated price

increases, knowing that its small-quantity customers were not legally sophisticated;

(4) Defendant incorporated long-terms into its standard form contracts and

incorporated automatic renewal and burdensome cancellation provisions;

(5) Defendant concealed the true reasons for APIs from small-quantity customers

and adopted an organizational structure designed to maximize payment of APIs

from customers who complained; (6) a large portion of Defendant’s profit and

revenue were derived from illegal APIs; and (7) Defendant knew its practice of

charging APIs was wrong and had been rejected by governmental authorities, but it

continued to impose APIs on customers who were unaware of them.

         91.      Since at least 2003, Stericycle has breached the covenant of good faith

and fair dealing in its agreements with Plaintiff and members of the Class through

its API policies and practices as alleged herein.




                                            - 30 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 32 of 39 PageID #:32



         92.      Defendant had an implied duty of good faith and fair dealing to

Plaintiff and the Class. Pursuant to that duty, Plaintiff and the Class had a

reasonable and justified expectation that they would not be charged automated

price increases. They had a reasonable and justified expectation that the fee they

paid Defendant would not increase automatically, unrelated to changes in

Stericycle’s costs for providing its services. Defendant breached that duty when it

charged Plaintiff and the Class APIs.

         93.      As a direct and proximate result of Defendant’s breaches of its

agreements, Plaintiff and the Class have suffered damages in an amount to be

proven at trial.

                                         COUNT II

                      Violation of Illinois Consumer Fraud and
           Deceptive Business Practices Act, 815 ILCS § 505/1 et seq., and
                  Illinois Uniform Deceptive Trade Practices Act,
                                   815 ILCS§ 510/2
         94.      Plaintiff realleges and incorporates by reference the preceding

allegations as if fully set forth above.

         95.      Defendant engaged in an unfair and deceptive act or practice by

imposing automated price increases. Defendant knew that its practice was not

authorized by its contracts with Plaintiff and the Class, but it nevertheless used

various forms of pressure and trickery to force small-quantity customers to pay as

much of it as it could.


                                            - 31 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 33 of 39 PageID #:33



         96.      Defendant concealed materials facts from Plaintiff and members of

the Class. Defendant’s scheme included concealing that it used an automated price

increase algorithm in its computer system to increase customers’ fees, giving

customers fabricated rationales for price increases, and offering discounts on APIs

only to complaining customers and only if they threatened to cease using

Defendant’s services. Defendant’s practice offended public policy, was immoral,

unethical, oppressive, and unscrupulous, and caused substantial injury to

consumers.

         97.      Buyers such as Plaintiff and members of the Class would have acted

differently knowing that Defendant imposed APIs, and APIs concerned the type of

information upon which a buyer would be expected to rely in making a decision

whether to purchase. Plaintiff and members of the Class would have wanted to

know that Defendant imposed automated increases that bore no relation to its

actual costs, and this information would have changed their and any reasonable

customer’s decision to use Defendant’s services. Defendant intended that Plaintiff

and members of the Class would rely on its contract term that their regulated

medical waste disposal fee would be fixed for the term of the contract and only

increase for the reasons stated in the contract. Plaintiff and members of the Class

paid higher fees than they would have as a result of Defendant’s APIs.




                                           - 32 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 34 of 39 PageID #:34



         98.      Defendant’s conduct is a violation of the Illinois Uniform Deceptive

Trade Practices Act, 815 ILCS § 510/2. As a violation of Section 2 of the Illinois

Uniform Deceptive Trade Practices Act, Defendant’s conduct is a violation of

Section 2 of the Illinois Consumer Fraud and Deceptive Business Practices Act,

815 ILCS § 505/2.

         99.      Defendant’s unfair or deceptive act or practice occurred in the course

of conduct involving trade or commerce.

         100. Defendant’s consumer fraud proximately caused injury to Plaintiff

and members of the Class.

         101. Pursuant to 815 ILCS § 505/10a, Plaintiff is entitled to actual

damages, punitive damages, and reasonable attorneys’ fees and costs, as well as

any other relief the Court deems proper.

                                        COUNT III

                                    Unjust Enrichment
         102. Plaintiff realleges and incorporates by reference the preceding

allegations as if fully set forth above.

         103. Defendant has unjustly retained a benefit to detriment of Plaintiff and

members of the Class. Defendant imposed an unlawful API on Plaintiff and the

Class, and Plaintiff and the Class paid fees to Defendant inflated by Defendant’s




                                            - 33 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 35 of 39 PageID #:35



API. Defendant continues to possess money paid by Plaintiff and the Class to

which it is not entitled.

         104. Defendant’s retention of the benefit violates the fundamental

principles of justice, equity and good conscience. Defendant did not disclose to

Plaintiff and the Class that it had a policy of charging APIs, and the terms of

Defendant’s contracts falsely conveyed that price increases were the result of

operational changes implemented to comply with changes in law or specific

increases in costs. Defendant concealed that it used an automated price increase

algorithm in its computer system to increase customers’ fees, it gave customers

fabricated rationales for price increases, and it offered discounts on APIs only to

complaining customers – and only if they threatened to cease using Defendant’s

services.

         105. As a direct and proximate result of Defendant’s practice of imposing

APIs, Plaintiff and the Class have suffered damages in an amount to be proven at

trial.

                                      COUNT IV

                                           Fraud
         106. Plaintiff realleges and incorporates by reference the preceding

allegations as if fully set forth above.




                                           - 34 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 36 of 39 PageID #:36



         107. Defendant made a false statement of material fact to Plaintiff and the

Class when its contracts stated the fee Defendant charged for medical waste

disposal services. In truth, that fee was to be increased by APIs not disclosed to

Plaintiff or the Class. Defendant knew that it would not charge the fee stated in its

contracts, and instead that it would impose APIs on Plaintiff and the Class.

         108. Defendant intended that Plaintiff and the Class would agree to use

Defendant’s services based on the fee expressly stated in its contracts. Defendant

intended that its stated fee would induce Plaintiff and the Class to act. Plaintiff

and the members of the Class relied on the fee as stated in their contracts with

Defendant and expected that they would pay that fee, subject to the two limited

conditions in which Defendant could increase the fee. Instead, Defendant charged

Plaintiff and the Class APIs, and the APIs damaged Plaintiff and the Class.

         109. Defendant concealed that it did not intend to, and did not, charge

Plaintiff and the Class the fee stated in their contracts with Defendant, and instead

intended to, and did, charge Plaintiff and the Class APIs. Defendant concealed that

it had a policy of charging APIs, and that the terms of Defendant’s contracts falsely

conveyed that price increases were the result of operational changes implemented

to comply with changes in law or specific increases in costs. Defendant concealed

that it used an automated price increase algorithm in its computer system to




                                         - 35 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 37 of 39 PageID #:37



increase customers’ fees. Defendant was under a duty to disclose these facts, and

its failure to do so deceived Plaintiff and members of the Class.

         110. As a direct and proximate result of Defendant’s fraud, Plaintiff and

the Class have suffered damages in an amount to be proven at trial.

                              VII. PRAYER FOR RELIEF

         WHEREFORE, Plaintiff and Class members request that the Court enter an

order or judgment against Defendant including the following:

         A.       Declaring that this action may be maintained as a class action

pursuant to Federal Rules of Civil Procedure, Rule 23, and for an order certifying

this case as a class action and appointing Plaintiff as Class representative;

         B.       Declaring that Defendant’s practice of charging Plaintiff and the Class

with automated price increases breached Defendant’s contracts with Plaintiff and

the Class and was wrongful and unfair;

         C.       Declaring that, because of Defendant’s breach of contract,

Defendant’s agreements with Plaintiff and the Class are void and unenforceable;

         D.       Restitution of all automated price increases paid to Defendant by

Plaintiff and the Class, in an amount to be determined at trial;

         E.       Declaring that Defendant misappropriated and converted monies

rightfully belonging to Plaintiff and the Class;




                                            - 36 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 38 of 39 PageID #:38



         F.       Disgorgement of the ill-gotten gains derived by Defendant from its

misconduct;

         G.       Actual damages in an amount according to proof;

         H.       Punitive damages;

         I.       Compensatory damages caused by Defendant’s unfair or deceptive

practices; along with exemplary damages to Plaintiff and each Class member for

each violation;

         J.       A permanent injunction requiring Defendant to cease charging

automated price increases or to modify its standard form contracts to inform all

customers that it imposes, on a cycle to be determined at trial, an automated price

increase not connected to operational changes implemented to comply with

changes in law or specific increases in costs;

         K.       Pre-judgment and post-judgment interest at the maximum rate

permitted by applicable law;

         L.       An order awarding Plaintiff and the Class their attorney’s fees and

costs and expenses incurred in connection with this action; and

         M.       Such other and further relief as the Court deems just and proper.

                           VIII. DEMAND FOR JURY TRIAL
         Plaintiffs hereby demand a trial by jury, pursuant to Rule 38(b) of the

Federal Rules of Civil Procedure, of all issues so triable.



                                            - 37 -
000700-00 598918 V1
     Case: 1:13-cv-02499 Document #: 1 Filed: 04/03/13 Page 39 of 39 PageID #:39



DATED: April 3, 2013                   HAGENS BERMAN SOBOL SHAPIRO LLP


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                                        - 38 -
000700-00 598918 V1
